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                     EXHIBIT A




                                                                     App-01
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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNION ASSET MANAGEMENT                   Case No. 3:20-cv-00518-X
HOLDING AG, Individually and On Behalf
All others similarly situated,           CLASS ACTION

                  Plaintiff,

            v.

FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                  Defendants.



  DECLARATION OF LEWIS T. LECLAIR IN SUPPORT OF THE MOTION OF
     UNION ASSET MANAGEMENT HOLDING AG FOR APPOINTMENT
  AS LEAD PLAINTIFF AND APPROVAL OF ITS SELECTION OF COUNSEL




                                                                         App-02
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       I, Lewis T. LeClair, declare as follows:

       1.      I am a member in good standing of the bars of the State of Texas and of this Court

and am a shareholder in the law firm of McKool Smith PC (“McKool Smith”). I submit this

declaration in support of the Motion filed by Union Asset Management Holding AG (“Union”) for

an order: (i) appointing Union as Lead Plaintiff; (ii) approving its selection of Bernstein Litowitz

Berger & Grossmann LLP (“Bernstein Litowitz”) as Lead Counsel for the Class and McKool

Smith as Liaison Counsel for the Class; and (iii) granting any further relief that the Court may

deem just and proper.

       2.      Attached as Exhibits B through F are true and correct copies of the following

documents:

            EXHIBIT B:        Union’s declarations of assignment;

            EXHIBIT C:        Union’s sworn Certification;

            EXHIBIT D:        Charts of Union’s transactions and losses;

            EXHIBIT E:        Notice of pendency of Union Asset Management Holding AG v.
                              Fluor Corp., No. 3:20-cv-518 (N.D. Tex.), published on February
                              28, 2020 via PR Newswire; and

            EXHIBIT F:        Firm Résumé of Bernstein Litowitz.

       I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

Executed this 28th day of April, 2020.

                                                   /s/ Lewis T. LeClair
                                                   Lewis T. LeClair
                                                   Texas Bar No. 12072500




                                                                                            App-03
